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     Matthew J. Oppenheim (pro hac vice)
 1   Corey Miller (pro hac vice)
 2   Danae Tinelli (pro hac vice)
     OPPENHEIM + ZEBRAK, LLP
 3   4530 Wisconsin Avenue NW, 5th Floor
     Washington, DC 20016
 4   Telephone:     (202) 480-2999
     matt@oandzlaw.com
 5
     corey@oandzlaw.com
 6   danae@oandzlaw.com

 7   Noel M. Cook, SBN 122777                     Jacob L. Tracer (pro hac vice)
     HANSON BRIDGETT LLP                          RECORDING INDUSTRY ASSOCIATION
 8   425 Market Street, 26th Floor                OF AMERICA
     San Francisco, California 94105              1000 F St. NW, 2nd Floor
 9
     Telephone:    (415) 777-3200                 Washington, DC 20004-1512
10   Facsimile:    (415) 541-9366                 Telephone:     (202) 857-9611
     ncook@hansonbridgett.com                     jtracer@riaa.com
11

12   Attorneys for Plaintiffs UMG Recordings, Inc.; Capitol Records, LLC; Concord Bicycle
     Assets, LLC; CMGI Recorded Music Assets LLC; Sony Music Entertainment; and Arista
13
     Music
14
                                     UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                        SAN FRANCISCO DIVISION
17

18                                    )
     UMG RECORDINGS, INC., CAPITOL    ) Case No.: 3:23-cv-06522-MMC
19   RECORDS, LLC, CONCORD BICYCLE    )
     ASSETS, LLC, CMGI RECORDED MUSIC )
20                                    ) Fourth Stipulation and Proposed Order to
     ASSETS LLC, SONY MUSIC           ) Extend Stay of Proceedings
     ENTERTAINMENT, and ARISTA MUSIC )
21
                                      )
                 Plaintiff(s),        )
22
                                      )
          vs.                         )
23
                                      )
     INTERNET ARCHIVE, BREWSTER       )
24   KAHLE, KAHLE/AUSTIN FOUNDATION, )
     GEORGE BLOOD, and GEORGE BLOOD, )
25   L.P.                             )
26                                    )
                                      )
                 Defendant(s).        )
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      Fourth Stip. and Prop. Order                                    Case No.: 3:23-cv-06522-MMC
      To Ext. Stay of Proceedings
            Case 3:23-cv-06522-MMC            Document 173         Filed 07/03/25       Page 2 of 5




 1           Pursuant to Civil Local Rule 6-1(b) and Section 7 of the Court’s Standing Orders, Plaintiffs

 2   UMG Recordings, Inc., Capitol Records, LLC, Concord Bicycle Assets, LLC, CMGI Recorded

 3   Music Assets LLC, Sony Music Entertainment, and Arista Music (collectively, “Plaintiffs”) and

 4   Defendants Internet Archive, Brewster Kahle, the Kahle/Austin Foundation, George Blood, and

 5   George Blood LP (collectively, “Defendants”) (Plaintiffs and Defendants shall collectively be

 6   referred to as the “Parties”), hereby stipulate as follows:

 7           WHEREAS, on June 2, 2025, the Court granted the Parties’ third stipulation to stay the

 8   case for thirty (30) days, which is set to expire on July 7, 2025, ECF No. 172;

 9           WHEREAS, the Parties are engaged in ongoing settlement discussions and believe that

10   extending the current stay for an additional thirty (30) days will facilitate resolution of this matter

11   without further involvement of the Court;

12           WHEREAS, in the event that settlement discussions do not result in a resolution, the Parties

13   agree to confer and submit a proposed schedule to the Court to reset case deadlines;

14           NOW, THEREFORE, the Parties hereby stipulate and respectfully request the Court to

15   order as follows:

16           1. All proceedings and deadlines in this case shall be stayed through and including August

17               6, 2025 to allow the Parties to continue their settlement discussions.

18           2. If the settlement discussions result in a resolution, the Parties will promptly file an

19               appropriate dismissal with the Court.

20           3. If the settlement discussions are not successful, the Parties shall meet and confer to

21               propose a new schedule for the case and submit a joint proposed scheduling order to

22               the Court within ten (10) days following the expiration of the stay.

23   IT IS SO STIPULATED.
     Dated: July 3, 2025
24

25   /s/ Matthew J. Oppenheim                            /s/ Andrew M. Gass
     Matthew J. Oppenheim (pro hac vice)                 Andrew M. Gass (Bar No. 259694)
26   Corey Miller (pro hac vice)                         andrew.gass@lw.com
     Danae Tinelli (pro hac vice)                        Joseph R. Wetzel (Bar No. 238008)
27

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      Fourth Stip. and Prop. Order                                            Case No.: 3:23-cv-06522-MMC
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     OPPENHEIM + ZEBRAK LLP                           joe.wetzel@lw.com
 1   4530 Wisconsin Avenue NW, 5th Floor              LATHAM & WATKINS LLP
 2   Washington, DC 20016                             505 Montgomery Street, Suite 2000
     Telephone: (202) 480-2999                        San Francisco, CA 94111
 3   matt@oandzlaw.com                                (415) 391-0600
     danae@oandzlaw.com
 4   corey@oandzlaw.com                               Allison L. Stillman (pro hac vice)
                                                      alli.stillman@lw.com
 5
     Noel M. Cook, SBN 122777                         1271 Avenue of the Americas
 6   HANSON BRIDGETT LLP                              New York, NY 10020
     425 Market Street, 26th Floor                    (212) 906-1200
 7   San Francisco, California 94105
     Telephone: (415) 777-3200                        Brent Murphy (pro hac vice)
 8   Facsimile: (415) 541-9366                        brent.murphy@lw.com
     ncook@hansonbridgett.com                         555 Eleventh Street NW, Suite 1000
 9
                                                      Washington, DC 20004
10   Jacob L. Tracer (pro hac vice)                   (202) 637-2201
     RECORDING INDUSTRY ASSOCIATION
11   OF AMERICA                                       Attorneys for Defendants Internet Archive,
     1000 F St. NW, 2nd Floor                         Brewster Kahle, Kahle/Austin Foundation,
12   Washington, DC 20004-1512                        George Blood, and George Blood L.P.
     Telephone:     (202) 857-9611
13
     jtracer@riaa.com
14
     Attorneys for Plaintiffs UMG Recordings, Inc.;
15   Capital Records, LLC; Concord Bicycle Assets,
     LLC; CMGI Recorded Music Assets LLC; Sony
16   Music Entertainment; and Arista Music
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      Fourth Stip. and Prop. Order                                        Case No.: 3:23-cv-06522-MMC
      To Ext. Stay of Proceedings
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                                      SIGNATURE ATTESTATION
 1
             Pursuant to Civ. L.R. 5.1, I hereby attest that I have obtained the concurrence in the filing
 2
     of this document from all the signatories for whom a signature is indicated by a “conformed”
 3
     signature (/s/) within this e-filed document and I have on file records to support this concurrence
 4
     for subsequent production for the Court if so ordered for inspection upon request.
 5

 6    Dated: July 3, 2025                                 OPPENHEIM + ZEBRAK, LLP
 7                                                        /s/ Matthew J. Oppenheim
                                                          Matthew J. Oppenheim
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      Fourth Stip. and Prop. Order                                           Case No.: 3:23-cv-06522-MMC
      To Ext. Stay of Proceedings
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                                     UNITED STATES DISTRICT COURT
 1
                                 NORTHERN DISTRICT OF CALIFORNIA
 2
                                        SAN FRANCISCO DIVISION
 3

 4                                    )
     UMG RECORDINGS, INC., CAPITOL    ) Case No.: 3:23-cv-06522-MMC
 5   RECORDS, LLC, CONCORD BICYCLE    )
 6   ASSETS, LLC, CMGI RECORDED MUSIC )
                                      ) [Proposed] Order to Extend Stay of
     ASSETS LLC, SONY MUSIC           ) Proceedings
 7   ENTERTAINMENT, and ARISTA MUSIC )
                                      )
 8               Plaintiff(s),        )
                                      )
 9        vs.                         )
                                      )
10   INTERNET ARCHIVE, BREWSTER       )
     KAHLE, KAHLE/AUSTIN FOUNDATION, )
11   GEORGE BLOOD, and GEORGE BLOOD, )
     L.P.                             )
12                                    )
                                      )
13               Defendant(s).        )
14

15           The Court, having considered the Parties’ Fourth Stipulation to Extend Stay of

16   Proceedings, and good cause having been shown, hereby orders as follows:

17       1. All proceedings and deadlines in this case shall be stayed through and including August 6,

18           2025 to allow the Parties to continue their settlement discussions.

19       2. If the settlement discussions result in a resolution, the Parties will promptly file an

20           appropriate dismissal with the Court.

21       3. If the settlement discussions are not successful, the Parties shall meet and confer to propose

22           a new schedule for the case and submit a joint proposed scheduling order to the Court

23           within ten (10) days following the expiration of the stay.

24   IT IS SO ORDERED.
      Dated: __________________
25                                                                   MAXINE M. CHESNEY
                                                                    United States District Judge
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      Fourth Stip. and Prop. Order                                          Case No.: 3:23-cv-06522-MMC
      To Ext. Stay of Proceedings
